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        IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE STEPHEN ALEXANDER VADEN, JUDGE
__________________________________________
                                           )
SAHA THAI STEEL PIPE PUBLIC COMPANY, )
LIMITED,                                   )
                                           )
                  Plaintiff,               )
                                           )
      and                                  )
                                           )
THAI PREMIUM PIPE COMPANY LTD.,            )
                                           )
                  Plaintiff-Intervenor,    )
                                           )
                  v.                       ) Court No. 21-00627
                                           )
UNITED STATES,                            )
                                           )
                  Defendant,               )
            and                            )
                                           )
WHEATLAND TUBE COMPANY and                 )
NUCOR TUBULAR PRODUCTS INC.,               )
                                           )
                  Defendant-Intervenors.  )
                                           )



                         DEFENDANT’S SUR-REPLY




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February 17, 2023
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           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE STEPHEN ALEXANDER VADEN, JUDGE
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                  v.                       ) Court No. 21-00627
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UNITED STATES,                            )
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                  Defendant,               )
            and                            )
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WHEATLAND TUBE COMPANY and                 )
NUCOR TUBULAR PRODUCTS INC.,               )
                                           )
                  Defendant-Intervenors.  )
                                           )

                                DEFENDANT’S SUR-REPLY

       In its order dated January 19, 2023 (ECF No. 67), the Court directed the Government to

file a sur-reply brief of no more than 8,500 words in response to the arguments regarding

exceptions to administrative exhaustion raised by plaintiff Saha Thai Steel Pipe Public Co., Ltd.

(Saha Thai) in its reply brief (Saha Thai Reply Br., ECF No. 54) in support of its motion for

judgment on the agency record. As directed, the United States respectfully submits this sur-reply

responding to Saha Thai’s arguments raised on pages 29-32 regarding exceptions to

administrative exhaustion. For the reasons discussed in our response (Gov. Br., ECF No. 45) and
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discussed further below, we respectfully request that the Court deny Saha Thai’s motion for

judgment on the agency record and sustain the Department of Commerce’s (Commerce) final

results, as changed after Commerce’s voluntary remand redetermination filed on November 29,

2022 (ECF No. 61), as supported by substantial evidence and otherwise in accordance with law.

                                          ARGUMENT

       In its briefing before this Court, Saha Thai contends that Commerce should revise its

antidumping duty final margin calculations to remove sales of dual-stenciled pipe and tube

because of this Court’s final judgment sustaining Commerce’s remand redetermination under

protest that dual-stenciled pipe and tube is not covered by the antidumping order on circular

welded carbon steel pipes and tubes from Thailand. Saha Thai Motion for Judgment on the

Agency Record, dated May 9, 2022, ECF No. 40-1 at 52-54 (citing Shaha Thai Steel Pipe Pub.

Co. v. United States, 547 F. Supp. 3d 1278 (Ct. Int’l Trade 2021). In our response, we

maintained that, because Saha Thai failed to raise the issue of including sales attributable to dual-

stenciled pipe and tube in Commerce’s final margin calculations at any point during the

underlying administrative review, it cannot pursue this claim before this Court. Gov. Br. at 41-

43. In its reply, Saha Thai contends that the futility exception and the pure question of law

exception excuse it from not having raised the issue before Commerce. Saha Thai Reply Br. at

29-32. We address both arguments below.

I.     Saha Thai Has Not Demonstrated That It Would Have Been Futile To Have
       Raised The Issue Of Whether To Include Dual-Stenciled Pipe Before Commerce

       As discussed in our response brief, this Court and the United States Court of Appeals for

the Federal Circuit generally take a “strict view” of the requirement that parties exhaust their

administrative remedies before Commerce in trade cases. Ta Chen Stainless Steel Pipe, Ltd. v.

United States, 342 F. Supp. 2d 1191, 1205 (Ct. Int’l Trade 2004) (cleaned up); Gov. Br. at 42-43

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(citing Boomerang Tube LLC v. United States, 856 F.3d 908, 912 (Fed. Cir. 2017) and 28 U.S.C.

§ 2637(d)). The principle underlying the rule is that “courts should not topple over

administrative decisions unless the administrative body not only has erred but has erred against

objection made at the time appropriate under its practice.” United States v. L.A. Trucker Truck

Lines, Inc., 344 U.S. 33, 37 (1952).

       The futility exception to the exhaustion requirement “is a narrow one,” and merely

because an adverse decision may have been likely does not excuse a party from a statutory or

regulatory requirement that it exhaust administrative remedies. See Corus Staal BV v. United

States, 502 F.3d 1370, 1379 (Fed. Cir. 2007). Here, requiring Saha Thai to set forth its factual

and legal arguments in its case brief or at any point before Commerce would have had potential

value either by resulting in possible relief for Saha Thai, or, at a minimum, providing Commerce

an opportunity to address the issue to facilitate judicial review. Id. at 1380.

       Saha Thai relies on the Federal Circuit’s decision in Itochu Building Products v. United

States, 733 F.3d 1140 (Fed. Cir. 2013), to support its position that it should be exempted from

exhausting its administrative remedies. Saha Thai Reply Br. at 30-31. But the decision in Itochu

is readily distinguishable. In Itochu, a Chinese respondent was a party to an administrative

review of its sales of steel nails in the United States that were covered by an antidumping duty

order. 733 F.3d at 1142. During the course of the review, a domestic manufacturer notified

Commerce “that it no longer had an interest in receiving [antidumping] relief from imports” of

certain types of nails and requested that Commerce initiate a changed-circumstances review to

revoke the order as to those types of nails. Id. at 1142-43. In support of that request, Itochu

submitted comments and met with eight Commerce officials to advocate for a proposed date for




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the revocation to become effective. Id. At 1143. During those meetings, Itochu’s counsel also

provided the officials with “41 pages of excerpts from prior Commerce determinations.” Id.

       In its preliminary determination, Commerce noted that Itochu had submitted comments

and its meetings with Commerce officials, but declined to accept Itochu’s requested date. Id. at

1143-44. Commerce invited interested parties to submit comments on its preliminary

determination, but it stated that the receipt of comments would delay the publication date for the

final results. Id. at 1144. Although Itochu did not submit comments in response to the

preliminary determination, in its final determination Commerce described its interactions with

Itochu on the issue of the proposed effective date and again rejected Itochu’s position. Id.

Under these circumstances, which the Federal Circuit characterized as “rare,” the Court excused

Itochu from the exhaustion requirement, reasoning that there was no need to require Itochu to re-

file its comments because “Commerce had heard everything on the issue that Itochu had to say.”

Id. at 1147.

       Unlike in Itochu, where Itochu had affirmatively raised its arguments before Commerce

and Commerce actually addressed the arguments in its preliminary and final determinations,

Saha Thai has not identified any filed comments raising its arguments during the administrative

review. Id. at 1146. In fact, recently in Prime Time Commerce, LLC v. United States, No. 21-

1783, 2022 WL 2313968, at *5 (Fed. Cir. June 28, 2022), the Federal Circuit distinguished

Itochu from a scenario in which a company raised arguments before the Court of International

Trade that it had not raised at any point before Commerce. Also, in Itochu Commerce’s

exhaustion regulation requiring parties to state “all arguments that continue in the submitter’s

view to be relevant to the Secretary’s final determination” did not alter the Court’s analysis




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because it concerned a request for a changed circumstances review as opposed to.an

administrative review at issue here. 19 C.F.R. § 351.309(b)(1); Itochu, 733 F.3d 1145 n.1.

       Contrary to Saha Thai’s assertions, it would not have been futile for it to have raised its

arguments after Commerce’s final scope ruling on June 30, 2020. Saha Thai Reply Br. at 30-31.

Saha Thai was actively challenging that final scope ruling before this Court through the

pendency of this then-ongoing administrative review. Indeed, Saha Thai had already submitted

its opening brief in the litigation on December 4, 2020, challenging the final scope ruling before

its submission of its Section C Questionnaire Response on December 10, 2020. Saha Thai

Section C Questionnaire Response (Dec. 10, 2020), Appx89756. Thus, Saha Thai had ample

time and opportunity to raise this argument before Commerce’s preliminary results or in its case

brief, but failed to do so. By failing to raise its arguments, Saha Thai deprived the agency of an

opportunity to address the issue to facilitate judicial review. Corus Staal BV, 502 F.3d at 1380.

Consequently, Saha Thai’s reliance on the futility exception fails.

II.    Whether Dual-Stenciled Pipe Is Covered By The Order Is Still On Appeal In
       The Federal Circuit                                                       t

       With respect to Saha Thai’s arguments about the applicability of the pure question of law

exception and whether Commerce is obligated under the statute to remove sales attributable to

dual-stenciled pipe from its margin calculations, Saha Thai Reply Br. at 31-32, Saha Thai

contends that “{t}his Court can rule on that question alone and the proper result will be reached

even if the scope determination is later overturned on appeal.” Saha Thai Reply Br. at 32. To

the extent that the Court determines that Saha Thai’s arguments raise a pure question of law, we

respectfully submit that, because the relevant scope issue is still on appeal in the Federal Circuit

in Saha Thai Steel Pipe Public Co. Ltd. v. United States, No. 22-2181 (Fed. Cir.), this Court

should wait until after the issuance of the final mandate by the Federal Circuit before ruling on

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this issue in order to preserve judicial and agency resources. E.g., RHI Refractories Liaoning

Co., Ltd. v. United States, 774 F. Supp. 2d 1280, 1283-85 (Ct. Int’l Trade 2011) (recognizing that

a court possesses broad discretion to stay a matter when briefing had already commenced at the

Federal Circuit as the “delay will not continue for an indefinite period” and “will promote

judicial economy and preserve the resources of the parties and the court”).

                                        CONCLUSION

       For these reasons, we respectfully request that the Court sustain Commerce’s final

results, as changed in its remand redetermination.

                                                     Respectfully submitted,

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                             CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing brief complies with the Rules of this Court and the

Court’s order in that it contains 1,501 words, including text, footnotes, and headings.


                                      /s/ Elizabeth Anne Speck
